                     Case 1:21-cv-02265-APM Document 231 Filed 08/01/23 Page 1 of 1

Default - Rule 55A                                                                        (CO 40 Revised-6/2019)




           UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                                        FOR THE DISTRICT OF COLUMBIA




CONRAD SMITH, et al
                         Plaintiff(s)
                                                                         Civil Action: 21-cv-02265-APM
         v.



DONALD J. TRUMP, et al
                        Defendant(s)



RE: STEWART RHODES


                                                 DEFAULT
         It appearing that the above-named defendant(s) failed to plead or otherwise defend this action though

duly served with summons and copy of the complaint           on        February 2, 2022       , and an affidavit

on behalf of the plaintiff having been filed, it is this 21st day of         August           , 2023 declared

that defendant(s) is/are in default.



                                                             ANGELA D. CAESAR, Clerk


                                                     By:                   /s/ N. Wilkens
                                                                            Deputy Clerk
